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                            UNITED STATES DISTRICT COURT
 9
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
                                 WESTERN DIVISION
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12 IMMIGRANT DEFENDERS LAW                  No. CV 19-02058 CAS (AGRx)
   CENTER, WESTERN STATE
13 COLLEGE OF LAW IMMIGRATION               [PROPOSED] ORDER CONTINUING
   CLINIC, PUBLIC COUNSEL, AND              SCHEDULING CONFERENCE
14 ESPERANZA IMMIGRANT RIGHTS
   PROJECT AT CATHOLIC                      Honorable Christina A. Snyder
15 CHARITIES,
16            Plaintiffs,
17                   v.
18 UNITED STATES IMMIGRATION
   AND CUSTOMS ENFORCEMENT
19 AND UNITED STATES
   DEPARTMENT OF HOMELAND
20 SECURITY,
21            Defendants.
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 Case 2:19-cv-02058-CAS-AGR Document 29-1 Filed 10/17/19 Page 2 of 2 Page ID #:185




 1         The parties having filed a Joint Stipulation to Continue Scheduling Conference,
 2   and good cause appearing,
 3         IT IS HEREBY ORDERED that the Scheduling Conference set for October 21,
 4   2019 is continued to November 25, 2019 at 11:00 a.m.
 5
 6                                                  ________________________________
     Dated:________________________
 7                                                  CHRISTINA A. SNYDER
                                                    UNITED STATES DISTRICT JUDGE
 8
     Presented by:
 9
     Millbank LLP
10
      /s/ Alexandra Achamallah
11   ALEXANDRA ACHAMALLAH
12   ACLU Foundation of Southern California
13   Pro Bono Attorneys for Plaintiffs
     Immigrant Defenders Law Center, Western
14   State College of Law Immigration Clinic,
     Public Counsel, and Esperanza Immigrant
15   Rights Project at Catholic Charities
16   NICOLA T. HANNA
     United States Attorney
17   DAVID M. HARRIS
     Assistant United States Attorney
18   Chief, Civil Division
     JOANNE S. OSINOFF
19   Assistant United States Attorney
     Chief, General Civil Section
20
21      /s/ Matthew J. Barragan
     MATTHEW J. BARRAGAN
22   Assistant United States Attorney
23   Attorneys for Defendants
     United States Immigration and Customs
24   Enforcement and United States Department of
     Homeland Security
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